     Case 1:19-cv-02443-RDM-ZMF Document 240 Filed 09/21/23 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                        Case No. 1:19-cv-02443-RDM

          v.

 JONES DAY, STEPHEN J. BROGAN,
 BETH HEIFETZ, and MICHAEL
 SHUMAKER,

      Defendants.


        NOTICE OF WITHDRAWAL OF APPEARANCE OF JACOB M. ROTH

       PLEASE TAKE NOTICE that, pursuant to Local Rule 83.6(b), Jacob M. Roth hereby

withdraws his appearance as counsel of record for Defendants in this matter. No trial date has

been set. Co-counsel at Jones Day, including Terri Chase, Traci Lovitt, Christopher DiPompeo,

and Anderson Bailey, will continue as counsel for Defendants in this matter.
    Case 1:19-cv-02443-RDM-ZMF Document 240 Filed 09/21/23 Page 2 of 3




Dated September 21, 2023             Respectfully submitted,

                                     /s/ Jacob M. Roth
                                     Jacob M. Roth (Bar No. 995090)
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                                     FOR DEFENDANTS
                                     /s/ Terri L. Chase
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                                     Counsel for Defendants
     Case 1:19-cv-02443-RDM-ZMF Document 240 Filed 09/21/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I, Jacob M. Roth, hereby certify that a true copy of the foregoing document will be filed

and served on all counsel of record on this same day through the ECF system.


                                       /s/ Jacob M. Roth
                                         Jacob M. Roth
